                              REVERSE the order granting the motion to dismiss AND
                REMAND this matter to the district court for further proceedings
                consistent with this order.'




                                                              Hardesty



                                                              Douglas
                                                                     D,7,4                    J.



                CHERRY, J., concurring:
                              For the reasons stated in the SFR Investments Pool 1, LLC v.
                U.S. Bank, N.A.,     130 Nev. , 334 P.3d 408 (2014), dissent, I disagree
                that respondent Nationstar lost its lien priority by virtue of the
                homeowners association's nonjudicial foreclosure sale. I recognize,
                however, that SFR Investments is now the controlling law and, thusly,
                concur in the disposition of this appeal.



                                                                                              J.




                cc: Hon. Jerry A. Wiese, District Judge
                     Law Offices of Noggle Law PLLC
                     Akerman LLP/Las Vegas
                     Miles, Bauer, Bergstrom &amp; Winters, LLP
                     Eighth District Court Clerk


                      1 The   injunction imposed by our January 22, 2014, order is vacated.


SUPREME COURT
        OF
     NEVADA
                                                       2
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